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                         IN THE UNITED STATED BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                     ENTERED
                                                                                                         11/19/2020
IN RE:                                                §
SABLE PERMIAN RESOURCES, LLC, et al                   §       CASE NO: 20-33193
                                                      §
SPR STOCK HOLDINGS, LLC                               §       CASE NO: 20-33195
                                                      §
SABLE PERMIAN RESOURCES                               §       CASE NO: 20-33196
OPERATING, LLC                                        §
                                                      §
SPR HOLDINGS, LLC                                     §       CASE NO: 20-33197
                                                      §
SPRH FINANCE CORPORATION                              §       CASE NO: 20-33198
                                                      §
SABLE PERMIAN RESOURCES                               §       CASE NO: 20-33199
CORPORATION                                           §
                                                      §
SABLE PERMIAN RESOURCES FINANCE,                      §       CASE NO: 20-33200
LLC                                                   §
                                                      §
SPR FINANCE CORPORATION                               §       CASE NO: 20-33201
                                                      §
SABLE LAND COMPANY, LLC,                              §       CASE NO: 20-33202
                                                      §       Jointly Administered Order
         Debtors.                                     §
                                                      §       CHAPTER 11
                                                      §

                                          ORDER FOR REPLY

         The Official Committee of Unsecured Creditors has filed a motion concerning pre-petition insider
compensation. The Committee seeks to file its motion under seal. The Court is concerned about whether
this type of a motion should be filed under seal. It appears to concern a matter of public interest concerning
insider payments. It does not appear to contain proprietary information.
        Not later than noon on November 25, 2020, any party in interest may file a reply in which that party
advocates for or against allowing the Committee’s motion to be filed under seal. Replies should include
case law with reasoned explanations as to whether an agreement to seal the motion is relevant under 11
U.S.C. § 107.
         SIGNED 11/19/2020


                                                           ___________________________________
                                                                         Marvin Isgur
                                                                United States Bankruptcy Judge



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